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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION

GALLATIN WILDLIFE                  )
ASSOCIATION; YELLOWSTONE           )
BUFFALO FOUNDATION                 ) Case No. 2:15-cv-00027-BU-BMM
                                   )
           Plaintiffs,             )
     vs.                           ) PLAINTIFFS’ REPRESENTATION
                                   ) STATEMENT
UNITED STATES FOREST               )
SERVICE, et al.,                   )
                                   )
           Defendants.             )
                                   )
                                   )
                                   )
                                   )
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      The following identifies all parties to the action and the names,

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Respectfully submitted on this 24th day of August, 2019.

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